           Case 1:16-vv-00160-UNJ Document 14 Filed 05/27/16 Page 1 of 1




          In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0160V
                                      Filed: April 19, 2016

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MERRILL D. WOODS,          *
                           *
               Petitioner, *
v.                         *
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
                           *
****************************

                            ORDER CONCLUDING PROCEEDINGS 1

Dorsey, Chief Special Master:

      On April 18, 2016, the petitioner filed a Notice of Voluntary Dismissal in the
above-captioned case.

      Accordingly, pursuant to Vaccine Rule 21 (a), the above-captioned case is
hereby dismissed without prejudice. The Clerk of the Court is hereby instructed that
a judgment shall not enter in the instant case pursuant to Vaccine Rule 21(a).

IT IS SO ORDERED.
                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




1 The undersigned intends to post this unpublished order on the United States Court of Federal Claims'

website, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure of which
would constitute an unwarranted invasion of privacy. If, upon review, the undersigned agrees that the
identified material fits within this definition, the undersigned will redact such material from public access.
